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United States Bankruptcy Court for the:

District of New Jersey

Case number (if known): Chapter you are filing under:
U Chapter 7
wi Chapter 11
U Chapter 12 O
U) Chapter 13 Check if this is an

amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 06/24

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

EEE teentiry Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name ‘.
Ludmila
Write the name that is on your First name First name
government-issued picture
identification (for example, your : .
driver's license or passport). Middle name Middle name
Agivaive
Bring your picture identification Lastname Lastvame
to your meeting with the trustee.
Suffix (Sr., Jr, I, Il) Suffix (Sr., Jr, Il, Il)
2. All other names you have
used in the last 8 years First name First name
Include your married or maiden - -
names and any assumed, trade = Middle name Middle name
names and doing business as
names.
Last name Last name

Do NOT list the name of any

separate legal entity such as a . - - . .
corporation, partnership, or LLC Business name (if applicable) Business name (if applicable)

that is not filing this petition.

Business name (if applicable) Business name (if applicable)
3. Only the last 4 digits of your
Social Security number or wie A Le. 20 XX =
federal Individual Taxpayer OR OR
Identification number Ox 308 = 9
(ITIN) _— oOo eC MX XX oe

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

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Debtor 1 Ludmila Agivaive Case number (if known)
First Name Middle Name Last Name
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
4. Your Employer Identification . .
Number (EIN), if any. EIN EIN
EN EN

5. Where you live

6. Why you are choosing this
district to file for bankruptcy

Official Form 101

1156 Tiffany Lane

If Debtor 2 lives at a different address:

Number Street Number Street

Lakewood, NJ 08701

City State ZIP Code City State ZIP Code
Ocean

County County

If your mailing address is different from the one above,
fill it in here. Note that the court will send any notices to
you at this mailing address.

If Debtor 2's mailing address is different from yours, fill
it in here. Note that the court will send any notices to you
at this mailing address.

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
Check one: Check one:

vi Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

Q) | have another reason. Explain.
(See 28 U.S.C. § 1408)

Voluntary Petition for Individuals Filing for Bankruptcy

Q) Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

Q) | have another reason. Explain.
(See 28 U.S.C. § 1408)

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Debtor 1 Ludmila Agivaive
First Name Middle Name Last Name

t= the Court About Your Bankruptcy Case

Case number (if known)

7. The chapter of the Bankruptcy Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
Code you are choosing to file Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

wader Chapter 7
4 Chapter 11
Chapter 12
Chapter 13
8. How you will pay the fee wi | will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more

details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with

a credit card or check with a pre-printed address.

I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals

to Pay The Filing Fee in Installments (Official Form 103A).

| request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
Official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form

103B) and file it with your petition.

9. Have you filed for bankruptcy Q) No.

Case number 22-14329

Case number

Case number

within the last 8 years? A
Yes. District District of New Jersey When 05/31/2022
MM/DD/YYYY
District When
MM/DD/ YYYY
District When
MM/DD/YYYY
10. Are any bankruptcy cases WA no.
pending or being filed by a OQ
spouse who is not filing this Yes. Debtor
case with you, or by a a
business partner, or by an District When
affiliate? MM/DD/YYYY
Debtor
District When
MM/DD/YYYY

11. Do you rent your residence? wi No. Go to line 12.
Q Yes. Has your landlord obtained an eviction judgment against you?

C1 No. Go to line 12.

Relationship to you

Case number, if known

Relationship to you

Case number, if known

QO) Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it

as part of this bankruptcy petition.

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy

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Debtor 1 Ludmila

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Agivaive Case number (if known)

First Name

Middle Name

Last Name

Eee) Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor of
any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a separate
legal entity such as a
corporation, partnership, or LLC.

If you have more than one sole
proprietorship, use a separate
sheet and attach it to this
petition.

13. Are you filing under Chapter
11 of the Bankruptcy Code,
and are you a small business
debtor?

For a definition of small business

debtor, see 11 U.S.C. §
101(51D).

Official Form 101

A No. Go to Part 4.

QO) Yes. Name and location of business

Name of business, if any

Number

Street

City

State ZIP Code

Check the appropriate box to describe your business:

Q Health Care Business (as defined in 11 U.S.C. § 101(27A))

Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

L) Stockbroker (as defined in 11 U.S.C. § 101(53A))

QO) Commodity Broker (as defined in 11 U.S.C. § 101(6))

QO) None of the above

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set
appropriate deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance
sheet, statement of operations, cash-flow statement, and federal income tax return or if any of these documents do not
exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

QO) No.
wi No.

Q) Yes.

C) Yes.

| am not filing under Chapter 11.

| am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the
Bankruptcy Code.

| am filing under Chapter 11, | am a small business debtor according to the definition in the
Bankruptcy Code, and | do not choose to proceed under Subchapter V of Chapter 11.

| am filing under Chapter 11, | am a small business debtor according to the definition in the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

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Debtor 1 Ludmila

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Agivaive Case number (if known)

First Name Middle Name Last Name

Petal Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any wi No.
property that poses or is gO
alleged to pose a threat of Yes.
imminent and identifiable
hazard to public health or
safety? Or do you own any
property that needs immediate
attention?

For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

What is the hazard?

If immediate attention is needed, why is it needed?

Where is the property?

Number Street

City State ZIP Code

Voluntary Petition for Individuals Filing for Bankruptcy

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Case number (if known)

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Debtor 1 Ludmila Agivaive
First Name Middle Name Last Name

ei erin Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether you
have received a briefing
about credit counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must truthfully
check one of the following
choices. If you cannot do so,
you are not eligible to file.

If you file anyway, the court
can dismiss your case, you will
lose whatever filing fee you
paid, and your creditors can
begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

wi | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

QO) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

QO | certify that | asked for credit counseling services
from an approved agency, but was unable to
obtain those services during the 7 days after |
made my request, and exigent circumstances
merit a 30-day temporary waiver of the
requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why you
were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you
developed, if any. If you do not do so, your case may
be dismissed.

Any extension of the 30-day deadline is granted only
for cause and is limited to a maximum of 15 days.

QO) | am not required to receive a briefing about credit

counseling because of:

QO) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

QO) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

Q) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

QO) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

QO | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

QO) | certify that | asked for credit counseling services
from an approved agency, but was unable to
obtain those services during the 7 days after |
made my request, and exigent circumstances
merit a 30-day temporary waiver of the
requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why you
were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you
developed, if any. If you do not do so, your case may
be dismissed.

Any extension of the 30-day deadline is granted only
for cause and is limited to a maximum of 15 days.

O | am not required to receive a briefing about credit

counseling because of:

O) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

LI Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.
O) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

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Debtor 1

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Ludmila Agivaive Case number (if known)
First Name Middle Name Last Name

Geet answer These Questions for Reporting Purposes

16.

17.

19.

20.

Gk sion Below

For you

Official Form 101

What kind of debts do you 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
have? “incurred by an individual primarily for a personal, family, or household purpose.”
L) No. Go to line 16b.
Yes. Go to line 17.
16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
for a business or investment or through the operation of the business or investment.
Q) No. Go to line 16c.
L) Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts.
Are you filing under Chapter 7? No. !am not filing under Chapter 7. Go to line 18.
Do you estimate that after any O) yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
exempt property is excluded administrative expenses are paid that funds will be available to distribute to unsecured creditors?
and administrative expenses are Q) No
paid that funds will be available UO ves
for distribution to unsecured
creditors?
. How many creditors do you M 149 L) 14,000-5,000 Q) 25,001-50,000 ) 50,000-100,000 O More than 100,000
estimate that you owe? Q) 50-99 5,001-10,000
Q) 100-199 +O 10,001-25,000
L) 200-999
How much do you estimate your $0-$50,000 i $1,000,001-$10 million Q) $500,000,001-$1 billion
assets to be worth? Q) $50,001-$100,000 Q) $10,000,001-$50 million A $1,000,000,001-$10 billion
Q) $100,001-$500,000 Q) $50,000,001-$100 million QO $10,000,000,001-$50 billion
Q) $500,001-$1 million O $100,000,001-$500 million QD More than $50 billion
How much do you estimate your Vi $0-$50,000 QO) $1,000,001-$10 million OQ) $500,000,001-$1 billion
liabilities to be? U) $50,001-$100,000 U) $10,000,001-$50 million LU] $1,000,000,001-$10 billion
QO $100,001-$500,000 Q) $50,000,001-$100 million Q) $10,000,000,001-$50 billion
CL) $500,001-$1 million L) $100,000,001-$500 million C) More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not

have obtained and read the notice required by 11 U.S.C. § 342(b)

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,

and 3571.

x Is! Ludmila Agivaive
Ludmila Agivaive, Debtor 1

Executed on 08/29/2024
MM/ DD/ YYYY

Voluntary Petition for Individuals Filing for Bankruptcy

an attorney to help me fill out this document, |

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Debtor 1 Ludmila

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Agivaive

First Name

For your attorney, if you are
represented by one

If you are not represented by an
attorney, you do not need to file this
page.

Official Form 101

Case number (if known)

Middle Name Last Name

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to
proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s) the notice required by

11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no knowledge after an inquiry
that the information in the schedules filed with the petition is incorrect.

x /s/ Geoffrey P. Neumann Date 08/29/2024
Signature of Attorney for Debtor MM/ DD/ YYyy

Geoffrey P. Neumann
Printed name

Broege Neumann Fischer & Shaver, LLC

Firm name

25 Abe Voorhees Drive

Number Street

Manasquan NJ 08736

City State ZIP Code

Contact phone (732) 223-8484 Email address geoff.neumann@gmail.com
059702019 NJ

Bar number State

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MUM CM Celt r-l elm one (1a LAVMV0)0] mer-to—H

Debtor 1 Ludmila Agivaive
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of New Jersey
Case number QO) Check if this is an
(if known) amended filing

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical
Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.

a Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

la. Copy line 55, Total real estate, from Schedule A/B............cccccccccsseessssssssssssessssissssrsssssssissessiessssissaritsssriesesieecssiecesscecsseecee $1,431,000.00
1b. Copy line 62, Total personal property, from Schedule A/B.........ccccssscessssssssssssesssessssssessesssessivsssssieeseessesiteeteesseeeeeseeeeecee. $0.00
1c. Copy line 63, Total of all property on Schedule A/B..........c.cccccssssessssssssssssssesesesesssesssiessss sess essisesivestivesiieetieesteeeseececeeeecc., $1,431,000.00

EERE summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D....... $0.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F...........0....0000000-00--- $0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F...........cccccccccscscecseseses + $33,146.00
Your total liabilities $33,146.00

EES summarize Your Income and Expenses

4. Schedule |: Your Income (Official Form 1061)
Copy your combined monthly income from line 12 of SChEdUIe [..........ccccessssesssssssessseesseessssssecssetssesibesseceseeseeeeeeeeeeeeeeocecec. $0.00

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c Of SCHEQUIE Jo.......cccccccscsssessesssesseosssssvessestesseesbeseeseeseeseeseeeseeceeeecec. $0.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Debtor 1 Ludmila Agivaive Case number (if known)

First Name Middle Name Last Name

Ge Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137
UJ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

wi Yes

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

QO) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

$0.00

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $0.00
9d. Student loans. (Copy line 6f.) $0.00
9e.Obligations arising out of a separation agreement or divorce that you did not report as priority $0.00
claims. (Copy line 6g.)
$f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $0.00
9g. Total. Add lines 9a through 9f. $0.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

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Ally Financial
Bankruptcy Dept

P O Box 130424
Saint Paul, MN 55113

Atlantic Credit & Finance
111 Franklin Rd 406
24911

GMAC Mortgage
P O Box 2001719

P O Box 9001719
Louisville, KY 40290

Morgan Baumgartne &
1236 Brace Rd K
Cherry Hill, NJ 08034

Navient

General Correspondence
P O Boxx9500

Wilkes Barre, PA 18773

Santander Bank
Bankruptcy Dept

601 Penn St

Reading, PA 19601

Select Portfolio Servicing
Bankruptcy Department

PO Box 65250

Salt Lake City, UT 84165

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Certificate Number: 12459-NJ-CC-038607795

UMA) 0 1

12459-NJ-CC-038607795

CERTIFICATE OF COUNSELING

I CERTIFY that on June 25, 2024, at 1:14 o'clock PM PDT, Ludmila Avivaive
received from Abacus Credit Counseling, an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the District of New Jersey, an
individual [or group] briefing that complied with the provisions of 11 U.S.C.

109(h) and 111.

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: June 25, 2024 _ _ By: /s/Marisol Gomez

Name: Marisol Gomez

Title: Credit Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

mace yaraeaimtcitnamSaeunestorsssmene

